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1    Rajan O. Dhungana (SBN: 297794)
2    rdhungana@fedpractice.com
     FEDERAL PRACTICE GROUP
3
     431 N Brookhurst Street, Suite 130
4    Anaheim, CA 92801
     Telephone: (310) 795-6905
5
     Facsimile: (888) 899-6083
6

7
     Eric S. Montalvo (admitted pro hac vice)
     DC Bar No. 993206
8    emontalvo@fedpractice.com
9    FEDERAL PRACTICE GROUP
     1750 K Street, N.W., Suite 900
10
     Washington, D.C. 20006
11   Telephone: (202) 862-4360
     Facsimile: (888) 899-6083
12

13                        UNITED STATES DISTRICT COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
15
                                  (EASTERN DIVISION)
16

17   MOSES HEREDIA,                             Case No.: 5:20-cv-02618-JWH-KK
18
                  Plaintiff,
19                                              PLAINTIFF MOSES HEREDIA’S
     vs.                                        APPLICATION FOR
20
                                                CONTINUANCE OF OCTOBER 5,
21   MTK GLOBAL SPORTS                          2023 HEARING
22
     MANAGEMENT, LLC; MTK GLOBAL
     USA, LLC; GOLDEN BOY
23   PROMOTIONS, INC.; PAUL D.
24   GIBSON; and DANIEL KINAHAN,
25                Defendants.
26

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     PLAINTIFF MOSES HEREDIA’S APPLICATION FOR CONTINUANCE OF OCTOBER 5, 2023 HEARING - 1
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1                                     [PROPOSED] ORDER
2
            UPON CONSIDERATION of Plaintiff Moses Heredia’s Application for
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4    Continuance of October 5, 2023 Hearing, and for good cause shown, it is hereby
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            1.      ORDERED that the October 5, 2023 hearing date in this case is
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7
     continued to _________________, ______, 2023 at __:____ __.m. The parties are

8    ORDERED to appear via videoconference on this date. The parties are DIRECTED
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     to contact the Clerk before the hearing to obtain instructions for accessing the
10

11   videoconference. IT IS FURTHER ORDERED that Plaintiff shall provide notice
12
     to Defendants MTK Global USA, LLC, MTK Global Sports Management, LLC,
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14
     Daniel Kinahan, and Paul D. Gibson of the date and time of the hearing to allow

15   them to appear, if they wish to do so, and contest Plaintiff's claimed relief. Notice
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     shall be provided by mailing copies of this Order to Defendants MTK Global USA,
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18   LLC, MTK Global Sports Management, LLC, Daniel Kinahan, and Paul D. Gibson
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     at their last known address. At or prior to the scheduled hearing, Plaintiff must
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21
     provide the Court with proof of compliance with the notice requirement. The Court

22   DEFERS consideration of Plaintiff's Motions for Default Judgment [ECF 150, 151,
23
     152, 159] until after the hearing. There are no deadlines affected by this Order.
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25

26   Dated: ______________________                 ________________________________________________
                                                   Stephanie S. Christensen
27
                                                   United States Magistrate Judge
28
     PLAINTIFF MOSES HEREDIA’S APPLICATION FOR CONTINUANCE OF OCTOBER 5, 2023 HEARING - 2
